
659 So.2d 1220 (1995)
Douglas BUCHHEIT, Appellant,
v.
DEPARTMENT OF BUSINESS AND PROFESSIONAL REGULATION, DIVISION OF FLORIDA LAND SALES, CONDOMINIUMS AND MOBILE HOMES, Appellee.
No. 94-3435.
District Court of Appeal of Florida, Fourth District.
August 23, 1995.
*1221 William E. Guy, Jr., Stuart, for appellant.
Tracy Sumner, Tallahassee, for appellee.
STEVENSON, Judge.
Douglas Buchheit, a licensed yacht broker, challenges a final order entered by the Department of Business and Professional Regulation, after an informal hearing, imposing fines for alleged violations of the Yacht and Ship Broker's Act.[1] Because we agree with Buchheit that his letter of July 5, 1994, should have been interpreted as a request for a formal hearing, we reverse the final order and remand this cause for formal proceedings under section 120.57(1), Florida Statutes (1993). See Village Saloon v. Division of Alcoholic Beverages, 463 So.2d 278 (Fla. 1st DCA 1984) (where it is apparent that material facts are in dispute, a formal proceeding should be ordered).
Buchheit was found guilty of allowing an "unlicensed person to use his name to evade the provisions of the Yacht and Ship Broker's Act" in violation of section 326.006(2)(e)7, Florida Statutes (1993). In his letter of July 5 responding to the notice to show cause and at the informal hearing, Buchheit steadfastly maintained that he did not allow an unlicensed person to use his name to evade the provisions of the Act. Because issues of material fact needed to be resolved, a formal hearing should have been ordered.
REVERSED AND REMANDED.
GUNTHER, C.J., and WARNER, J., concur.
NOTES
[1]  Chapter 326, Florida Statutes.

